    Case 2:21-cv-04848-PA-KS Document 49 Filed 11/03/21 Page 1 of 2 Page ID #:471

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-4848 PA (KSx)                                          Date    November 3, 2021
 Title             Shawn Carter v. Jonathan Mannion, et al.



 Present: The Honorable PERCY ANDERSON, UNITED STATES DISTRICT JUDGE

         Kamilla Sali-Suleyman                             Not Reported                         N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                 IN CHAMBERS

       The Court has received the parties’ joint 26(f) report and finds that a scheduling
conference is not necessary. Dates set by the Court in this action are listed in the “Schedule of
Trial and Pretrial Dates” attached to this order. The dates set by the Court are firm dates.
Absent extraordinary circumstances, which must satisfy the requirements of Federal Rule of
Civil Procedure 16(b) and be brought to the Court’s attention in a timely manner, the Court will
not modify these dates. The scheduling conference currently on calendar for November 8, 2021,
at 10:30 a.m. is hereby vacated, and the matter taken off calendar.

        The Court notes that the parties estimate that trial will consume 3 days. It is the Court’s
practice to impose limits on the length of civil trials. Based on the Court’s current understanding
of this action, the parties are highly unlikely to have as much time to try this case as they appear
to anticipate.

       The Court has entered a Protective Order in this action. A copy of the Protective Order
will be served on the parties. The Protective Order may be modified or supplemented by the
parties. However, given the trial and pretrial dates set by the Court, disputes concerning the
Protective Order should not delay the parties’ prosecution of this action.

        Pursuant to the agreement of the parties, this matter has been referred to private
mediation. The parties have fourteen (14) days to select a mediator who has no conflicts and is
otherwise available to act as the settlement officer in this matter. If the parties are unable to
agree on a mediator, each side shall submit to the Court the name of a mediator who agrees to
act as the settlement officer. The Court will then randomly select the settlement officer.

         IT IS SO ORDERED.



CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
         Case 2:21-cv-04848-PA-KS Document 49 Filed 11/03/21 Page 2 of 2 Page ID #:472



                              Schedule of Trial and Pretrial Dates

CASE NO.:                    CV      21-04848


PARTIES:                          Shawn (Jay-Z) Carter
                                       -v-
                                  Jonathan Mannion, et al.

COMPLAINT FILED:                  06/15/21


TRIAL TYPE:                       Jury

SETTLEMENT CHOICE:
Court/Magistrate
Court's Mediation Panel
Private Dispute Resolution               X
Judicial Settlement Panel

    DATE                          MATTER

   07/19/22                       Jury Trial at 9:00 a.m.

   07/14/22                       File Final Trial Exhibit Stipulation

   07/11/22                       Hearing on Motions in Limine at 1:30 p.m.
                                  Hearing on Disputed Jury Instructions at 1:30 p.m.

   06/17/22                       Final Pretrial Conference at 1:30 p.m.
                                  Motions in Limine to be Filed
                                  Proposed Voir Dire Questions & Agreed-to Statement of Case

   06/03/22                       Lodge Pretrial Conference Order & Pretrial Exhibit Stipulation
                                  File Contentions of Fact & Law
                                  Exhibit & Witness Lists
                                  File Joint Status Report Regarding Settlement
                                  File Agreed Upon Set of Instructions & Verdict Forms
                                  File Joint Statement Regarding Disputed Instructions, Verdicts, etc.

   05/23/22                       Last Date to Conduct Settlement Conference

   05/16/22                       Last Day for Hearing Motions

   05/09/22                       Discovery Cut-off

   01/31/22                       Last Day for Hearing on Motion to Amend Pleadings or Add Parties
